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                          UNITED STATES DISTRICT COURT
6                        WESTERN DISTRICT OF WASHINGTON
                                   AT TACOMA
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      SECURITIES AND EXCHANGE
9     COMMISSION,
                                                 CASE NO.
10                               Plaintiff(s),   3:22−cv−05150−JHC
                         v.
11                                               MINUTE ORDER REASSIGNING
                                                 CASE
12    S−RAY INCORPORATED et al.,

13                             Defendant(s).
14   This action has been assigned to the Honorable John H. Chun, United States
15   District Judge. All future documents filed in this case must bear the cause number
16   3:22−cv−05150−JHC and bear the Judge's name in the upper right hand
17   corner of the document.
18
19   DATED April 11, 2022
                                                 Ravi Subramanian
20                                               Clerk of Court
21                                               By: /s/ Gretchen Craft
                                                    Deputy Clerk
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